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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           APR 15 2025
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
AMERICAN FEDERATION OF                            No. 25-1677
GOVERNMENT EMPLOYEES, AFL-CIO;
                                                  D.C. No.
et al.,                                           3:25-cv-01780-WHA
                                                  Northern District of California,
             Plaintiffs - Appellees,              San Francisco
 v.                                               ORDER

UNITED STATES OFFICE OF
PERSONNEL
MANAGEMENT and CHARLES EZELL,
in his official capacity as Acting Director of
the U.S. Office of Personnel Management,

             Defendants - Appellants,

and

HOWARD W. LUTNICK, Secretary of
Commerce; et al.,

             Defendants.

      The opening brief submitted by Appellants is filed.

      Within 7 days of this order, Appellants must file 6 copies of the brief in

paper format bound with blue front cover pages. Each copy must include

certification at the end that the copy is identical to the electronic version. The Form

18 certificate is available on the Court's website, at

http://www.ca9.uscourts.gov/forms.
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      The excerpts of record submitted by Appellants are filed. Within 7 days of

this order, Appellants is ordered to file 3 copies of the excerpts in paper format

securely bound on the left side, with white front cover pages.

      The paper copies must be sent to the Clerk’s principal office. The delivery

and overnight mailing address is 95 Seventh Street, San Francisco, CA 94103. The

regular U.S. mailing address is P.O. Box 193939, San Francisco, CA 94119-3939.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT
